                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                           Case No: 3:04cr190-02-MR-DSC

UNITED STATES OF AMERICA                              )
                                                      )
          v.                                          )
THOMAS L. JACOBS,                                     )
               Defendant                              )
                                                      )
and                                                   )
                                                      )
DARDEN RESTAURANTS INC.                               )
RETIREMENT INCOME PLAN,                               )
              Garnishee.                              )


                                             ORDER

        THIS MATTER is before the Court on the United States’ “Application for Writ of

Continuing Garnishment” (document #197) filed July 11, 2012. The United States “requests that

the Court enter an order garnishing one hundred percent of Defendant’s pension, whether that be the

corpus, or monthly payments made to Defendant by the pension administrator.” Id. at 2. The United

States acknowledges that “with regard to monthly distributions, there is a split of authority as to

whether the government is entitled to garnish one hundred percent of the monthly distribution, or

is limited to 25% of the monthly distribution.” Id.

        Having reviewed the recent decision of the Seventh Circuit Court of Appeals, the Court

concludes that garnishment of monthly pension distributions is limited to twenty-five percent by the

Consumer Credit Protection Act,15 U.S.C. §1672(a) (hereinafter “CCPA”). United States v. Lee,

659 F.3d 619, 622 (7th Cir. 2011) (“Given the unambiguous language of the statute, periodic

payments from a pension or retirement savings plan made in accordance with its terms would be

made ‘pursuant to’ the pension or retirement plan and therefore be subject to the 25% limitation of




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the CCPA”) (citing United States v. DeCay, 620 F.3d 534, 544 (5th Cir. 2010) ( CCPA statutory

limitation is unambiguous in that it defines “earnings” to include “periodic payments made pursuant

to a pension or retirement program”). The Seventh Circuit noted that the twenty-five percent

limitation applied to “disposable earnings” which were defined in 15 U.S.C. §1672(a) to include “a

pension or retirement program.” Id. at 621-22. See also United States v. Holmes, NCWD Civil

Action No. 3:10CR102, document #106 at 6 (W.D.N.C. June 19, 2012) (allowing defendant’s

Motion to Reconsider and “modif[ying the Order of Garnishment] to provide a maximum

garnishment of 25% of defendant’s monthly pension payments.”)

       In Holmes, District Judge Max O. Cogburn, Jr. adopted the Seventh Circuit’s rationale,

noting that “the court must give the language used by Congress its plain meaning as determined by

examination of the statute’s language, structure, and purpose.” Id. at 4 (citing United States v.

Horton, 321 F.3d 476, 479 (4th Cir. 2003)).

       FOR THESE REASONS, IT IS HEREBY ORDERED that:

       1. United States’ “Application for Writ of Continuing Garnishment” (document #197) is

GRANTED IN PART and DENIED IN PART. The United States shall prepare and submit a

proposed Writ of Continuing Garnishment that provides a maximum garnishment of twenty-five

percent of Defendant’s monthly pension payments.

       2. The Clerk is directed to send copies of this Order to the pro se Defendant and to counsel

for the United States; and to the Honorable Martin Reidinger.




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  SO ORDERED.                    Signed: July 12, 2012




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